 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YOR_K

_______________________________ X
BUILDERS BANK,

 

Piaimirrs, ' vERiFIED ANSWER
-against- lndex No.: 12 CIV 2054
THE HIGHLINE PARK, LLC,
r)Avin KISLIN, LEo TsiMMER
Ana ions noi~:s i_3

Defendants.
_______________________________________________________________ X

xas_i£im)AN___s\zv_Ea

PLEASE TAKE NO'l`ICE that DEFENDANTS DAVID KISLIN and THE HIGLINE
PARK, LLC, appears by their attorney, JACK L LESTER, ESQ. answers and counterclaims as
follows:

l. l')efendants deny the allegations set forth in paragraphs "l”, "'2"’, "3", “Sa)"`,
""Sb)"`, "6", “"7 "14", `*15". "16"`, "17"`, "18"1""`,20 “Zl "23"`_ "24"` "25"`, "28", “29”

2. Defendants deny knowledge and information sufficient to form a belief as to the
allegations Contained in paragraphs "4", “X"__ "‘9"_, ""l O", “l 1”, “12”._ “13", "26". "27".

AS AND FOR A FIRST AFFIRMATIVE DEFNESE
3. Plaintiffis guilty oflaches and therefore the proceeding must be dismissed
AS AND FOR A SECOND AFFIRMAT[VE I)EFENSE
4. Plaintit`i` has failed to state a cause of action cognizable in law.

AS AND FOR A THIRD AFFIRMATIVE DEFENSE

L.J'l

Plaintiff has assigned the mortgage contrary to law and public policy.

Case 1:12-CV-02054-GBD-.]CF Document 4 Filed 04/26/12 Page 1 of 6 `

 

Case 1:12-CV-02054-GBD-.]CF Document 4 Filed 04/26/12 Page 2 of 6

AS AND FOR A FOURTH AFFIRMATIVE DEFENSE
6. Plaintiff lacks a standing to maintain this action
AS AND FOR A FIFTH AFFIMRATINVE DEFENSE
7. Plaintiff has failed to disclose to defendant the terms of the mortgage loan in
accordance with the 'f ruth in Lending Act.
AS AND FOR A SIXTH AFFIRMATIVE })EFNENSE
8. Plaintiff has failed to plead the performance or occurrence of conditions precedent
in accordance with law.
AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE
9. Plaintifl` has failed to complyr With the disclosure requirements of lZ_ C .F.R.
Section 226.9
AS AND FOR A EIGHT AFFlRl\/IATIVE DEFENSE
l(). The mortgage transaction is void for fraud.
AS AND FOR A NINTH AFFlRMATlVE DEFENSE
l l. The mortgage transaction is void for unconscionability, inadequate disclosure,
interest rate manipulation and/or predatory lending
AS AND FOR A TENTH AFFIRMATIVE DEFENSE
12. The Docurncnts annexed for the Complaint are incomplete, defective and/or
evidentiary inadmissible and therefore incompetent

AS AND FOR A ELEVENTH AFFIRMATIVE DEFFNSE

 

13. Plaintiff Was unjustly enriched as a rcsult of the mortgage at issue in this

proceeding

Case 1:12-cV-02054-GBD-.]CF Document 4 Filed 04/26/12 Page 3 of 6

AS AND FOR A TWELVTH AFFIRMATIV_E DEFENSE
14. Plaintiff is guilty ofmisrepresentation.
AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE
l5, Plaintiff sold the mortgage without authority, contrary to law and express and
implied agreements
n AS AND FOR A FOURTHEENTH AFFIRMATIVE DEFENSE
l6. Plaintiff has not been lawfully delegated the authority to commence this
proceeding
AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE
17. This proceeding is improperly commenced in Federal Court.
AS Au\lD FOR A SIXTEENTH AFFIRMATIVE DEFENSE
lS. This proceeding was not served upon defendants in accordance with lawful
procedure and therefore the Court lacks jurisdiction
COUNTERCLAIM
19. As a result of the fraud unjust enrichment, misrepresentation and illegal acts as
aforesaid Defendant is entitled to monetary damages as determined by the Court.
WHEREFORE. Defendant respectfully requests j udgrnent against Plaintit`f as follows:
(A) Based upon /\ffirmative Defenses dismissing the Complaint:
(B) Granting Defendant costs, disbursements5 and attorneys’ fees in connection with
this action; and

(C) Granting such other and further relief as this Court may deem just and proper

 

Case 1:12-cV-02054-GBD-.]CF Document 4

Dated: April 12, 2012

TO:

New York, New York

Richard D. Grossman

LaW Offrees of Riehard D. Grossntan
225 West Walker Drive Suite 1550
Chicago, lL 60606

Filed 04/26/12 Page 4 of 6

     

Ja"ct<; L. Lssrsa, EsQ_
dttorney for Respondent
261 l\/ladison Avenue, 26th Fl.
New Yorl<, NY l{)Ol 6

(212) 832-5357

Case 1:12-cV-02054-GBD-.]CF Document 4 Filed 04/26/12 Page 5 of 6

VERIFICATION

STATE OF NEW YORK )
) ss.:
C.OUNTY OF NEW YORK )

DAVID KlSLlN, being duly sworn, deposes and says:

Deponent has read the foregoing Verified Answer, Affirmative Defense and
Counterclairn, and knows the contents thereof; and the same is true to deponent’s own
knowledge except as to the matters therein stated to be alleged upon information and belief

h and as to those matters deponent believes them to be true_._/-r“`, s_

/ ' , //'j»`_

    

    

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NOTARY PuBL|C-STME OF NEW \'ORK
No. OtBAd>`le258
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My Commlss|on Exptres June 11. 2015

 

 

 

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Case 1:12-cV-02054-GBD-.]CF Document 4 Filed 04/26/12 Page 6 of 6

Affidavit of Ser'vice

STATE OF NEW YORK

COUNTY OF NEW YORK

Sam Lester, being duly sworn, deposes and says:

l, am not a party to the action, arn over 18 years of age and reside in the State of l\lew

York.

On April 26, 2012, l served a true and Correct copy of the foregoing, VERIFIED

ANSWER AND DISCOVERY DEMANDS, by deposition of a true copy thereof enclosed

properly addressed post-paid wrapper, in an official depository of the US Postal Service within

the State of NeW York, addressed to the following party,

To: Richard D. Grossman

Law Offices of Richard D. Grossrnan

225 West Wacker Drive
Suite 1550

Chicago_, IL 60606
(312) 750-9308

Sworn to before me this
26th day oraer 2012
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bill d f rel acli/5 L,r»f":t/'-/!#{¢)
Notary Publicr State of New York

 

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Sarn Lester

 

